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                  IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE DISTRICT OF DELAWARE

In re:                                          )      Chapter 11
                                                )
YELLOW CORPORATION, et al.,                     )      Case No. 23-11069 (CTG)
                                                )      (Jointly Administered)
               Debtors.                         )
                                                )

    ORDER GRANTING MOTION OF JESSE ISRAEL NEWTON FOR
       RELIEF FROM THE AUTOMATIC STAY INJUNCTION

         Upon consideration of the Motion of Jesse Israel Newton for Relief from the

Automatic Stay, allowing Movant to proceed with personal injury litigation

pending in the Superior Court of the State of Florida for the County of Orange,

against Debtor Yellow Corporation, et al., and the Court having found that notice

of the Motion and the hearing on the Motion was proper under applicable rules of

procedure and provided adequate notice of the Motion and the hearing on the

Motion to all parties in interest; and the Court, having found that cause exists under

11 U.S.C. §362(d) to grant relief from stay as requested by Movant; and the Court

having found that it is in the best interests of the Debtors’ estates to grant relief

from stay to allow the Movant to continue litigation of his claims in the Florida

Action for the purposes of liquidating the amount of such claims, collecting on any

judgment entered from any available insurance proceeds under any applicable


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liability insurance, and filing a proof of claim in liquidated amounts to the extent

that insurance does not fully satisfy Movant’s claims against the Defendant Debtor;

it is hereby

      ORDERED that the Motion is GRANTED; and it is further

      ORDRED, that the automatic stay of 11 U.S.C. §362(a) is hereby

terminated, effective immediately, to allow Movant to fully prosecute his claims

against the Defendant Debtor in the Florida Action to conclusion, including

through final judgment and any and all appeals therefrom; and it is further

      ORDERED that the automatic 14 day stay provided by Federal Rule of

Bankruptcy Procedure 4001(a)(3) is hereby waived upon entry of this order on the

Court’s docket.




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